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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                           SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
           Plaintiff,                    )
                                         )
      v.                                 )      Case No. 1:96CR71 CDP
                                         )
MARION BUCK,                             )
                                         )
           Defendant.                    )

                         MEMORANDUM AND ORDER

      This matter is before the Court on the Motion of defendant Marion Buck for

order nunc pro tunc to clarify or modify judgment. As I explained to Mr. Buck

before, I do not have jurisdiction to tell the Bureau of Prisons how to credit jail time.

Accordingly,

      IT IS HEREBY ORDERED that defendant Marion Buck’s motion for order

nunc pro tunc [#483] is denied.




                                         _______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 13th day of September, 2005.
